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                   IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF GEORGIA
                             ATHENS DIVISION

  DAMIEN BURDETTE,                               :
                                                 :
  Plaintiff,                                     :   Civil Action Number:
                                                 :
  vs.                                            :
                                                 :   3:17-cv-00058-CDL
  MAURICE’S TOWING, LLC, and                     :
  MAURICE BENNETT,                               :
                                                 :
  Defendants.                                    :
                                                 :

               JOINT MOTION TO APPROVE SETTLEMENT AND
                   TO DISMISS ACTION WITH PREJUDICE

     Plaintiff Damien Burdette and Defendants Maurice’s Towing, LLC and Maurice
Bennett (“Defendants”) (collectively “the Parties”), respectfully seek the Court’s
approval of their FLSA settlement (the “Settlement”) with respect to Plaintiff’s
claims in this wage and hour case against Defendants.
1.      INTRODUCTION
     The Parties reached the Settlement after months of investigation and arms-
length negotiations. The Settlement, if approved, will provide meaningful relief to

those affected. Accordingly, Plaintiff and Defendants jointly request that the Court
enter the Order Approving Settlement and Dismissing the Action with Prejudice.
In support of this Motion, the Parties jointly state as follows:
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2.       BACKGROUND
     On March 24, 2017, Plaintiff filed this action asserting claims under the Fair
Labor Standards Act. [Dkt. 1] Plaintiff alleged he was misclassified as an
independent contractor and, thus, Defendants failed to pay him the appropriate
overtime premium. Id. Defendants denied the allegations. [Dkt. 9] Defendants
informally provided extensive payroll and timekeeping records that allowed
Burdette to make a reasonably accurate estimate of his unpaid wages. After a series
of negotiations, the Parties have resolved their differences and now seek approval

from this Court to avoid the risks, distractions, and costs that will result from
further litigation. The executed Settlement Agreement and Release of Claims (the
“Agreement”) is attached hereto as Exhibit A.
      ARGUMENT AND CITATIONS OF AUTHORITY
     In the context of a private lawsuit brought by an employee against an employer
under the FLSA, an employee may settle and release FLSA claims against an
employer if the Parties present the district court with a proposed settlement and the
district court enters a stipulated judgment approving the fairness of the settlement.
As the Eleventh Circuit explained in Lynn’s Food Stores, Inc. v. United States1:
                Settlements may be permissible in the context of a suit brought
                by employees under the FLSA for back wages because
                initiation of the action by the employee provides some


1
    679 F.2d 1350, 1353 (11th Cir. 1982)


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             assurance of an adversarial context. The employees are likely to
             be represented by an attorney who can protect their rights under
             the statute. Thus, when the Parties submit a settlement to the
             court for approval, the settlement is more likely to reflect a
             reasonable compromise of disputed issues than a mere waiver
             of statutory rights brought by an employer’s overreaching, if a
             settlement in an employee FLSA suit does reflect a reasonable
             compromise over issues, such as FLSA coverage or
             computation of back wages that are actually in dispute, we
             allow the district court to approve the settlement in order to
             promote the policy of encouraging settlement of litigation.
             Id. at 1354.
   A.     Standards for Approval of an FLSA Compromise

   Lynn’s Food Stores requires that the Court to review a proposed compromise of
FLSA claims for “fairness.” However, the criteria the Court are to consider in
determining “fairness” is not as clear. As the court in Dees v. Hydradry, Inc., 706
F. Supp. 2d 1227, 1240-1 (M.D. Fla. 2010) noted:
             Lynn’s Food requires the Parties to an FLSA compromise to
             present proposed agreement to the district court, which “may
             enter a stipulated judgment after scrutinizing the settlement for
             fairness.” [Lynn’s Foods,] 679 F.2d at 1353. Although noting
             the unfairness of the settlements at issue, Lynn’s Food specifies
             no criteria for evaluating the “fairness” of a proposed
             compromise in a different case.
   (1)    Initial Considerations from Dees

   The Parties should provide the Court with “enough information for the court to
examine the bona fides of the dispute” including the nature of the dispute, the

material facts and claims, and an estimate of hours worked or compensation owed




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in order to understand the nature of the compromise. 2 Further, an employee may
not prospectively waive his FLSA rights as a part of a compromise.3 In addition,

the Court should address the attorneys’ fees agreed upon to insure that the fees
agreed upon did not adversely affect the Plaintiff’s recovery. 4


The Dees Court continued:
               Bonetti v. Embarq Management Co., [715 F. Supp. 2d 1222 (M.
               D. Fla. 2009)], describes the problem faced by a district court:
               Short of a bench trial, the Court is generally not in as good a
               position as the Parties to determine the reasonableness of an
               FLSA settlement. Many factors may be in play as the Parties
               negotiate a compromise that is acceptable to both sides. The
               Parties may disagree as to the number of hours worked by the
               plaintiff, the plaintiff’s status as an exempt employee, or the
               defendant’s status as a covered employer. In certain cases, the
               Defendant may assert (or threaten to assert) a counterclaim
               arising from the employment relationship. If the Parties are
               represented by competent counsel in an adversary context, the
               settlement they reach will, almost by definition, be reasonable.
               Rarely will the Court be in a position to competently declare
               that such a settlement is “unreasonable.”5


2
    Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1242 (M.D. Fla. 2010)

3
    Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1243 (M.D. Fla. 2010)

4
  Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1243 (M.D. Fla. 2010)(quoting Bonetti,
715 F. Supp. 2d 1222 (MDF) 2009)(Noting that the Court would not separately consider the
reasonableness of the fee to be paid to counsel unless there was some indication that settlement
amount or process was problematic.)
5
    Dees, 706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010)(quoting Bonetti)


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           Further from the Dees Court:
                 Nevertheless, the district court must “scrutinize the settlement
                 for fairness.” To fully implement the policy embodied by the
                 FLSA, the district should scrutinize the compromise in two
                 steps. First, the court should consider whether the compromise
                 is fair and reasonable to the employee (factors “internal” to the
                 compromise). If the compromise is reasonable to the employee,
                 the court should inquire whether the compromise otherwise
                 impermissibly frustrates implementation of the FLSA (factors
                 “external” to the compromise). The court should approve the
                 compromise only if the compromise is reasonable to the
                 employee and furthers implementation of the FLSA in the
                 workplace.6

     (2) The Internal Factors:
                 (1) the existence of fraud or collusion behind the settlement; (2)
                 the complexity, expense, and likely duration of the litigation;
                 (3) the stage of the proceedings and the amount of discovery
                 completed; (4) the probability of plaintiffs’ success on the
                 merits; (5) the range of possible recovery amounts; and (6) the
                 opinions of the counsel.7

     (3)      The External Factors:
                 Compromise of a retrospective dispute may be permissible if,
                 for example, the FLSA issue in a case is unresolvably close on

6
    Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010)(emphasis added)
7
 Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010); Pessoa v.
Countrywide Home Loans, Inc., 2007 U.S. Dist. LEXIS 24076, 2007 WL 1017577, at 3
(M.D. Fla. Apr. 2, 2007) (quoting Leverso v. South Trust Bank of Ala., Nat. Assoc., 18
F.3d 1527, 1531 n.6 (11th Cir. 1994)).


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              the facts or the law or some extraordinary circumstance (say, a
              suddenly disabled claimant or an employer in liquidation)
              commends a speedy or certain resolution. On the other hand,
              several factors may commend rejecting a proposed
              compromise, including the presence of other employees
              situated similarly to the claimant, a likelihood that the
              claimant's circumstance will recur, a history of FLSA non-
              compliance by the same employer or others in the same
              industry or geographic region, or the requirement for a mature
              record and a pointed determination of the governing factual or
              legal issue to further the development of the law either in
              general or in an industry or in a workplace. In all instances, the
              district court should faithfully execute the congressional
              mandate for "minimum wages, promptly paid . . . for the lowest
              paid segment of the nation's workers.8



3.      THIS FLSA COMPROMISE SHOULD BE APPROVED AS FAIR
           A. Initial Considerations

     Burdette drove a tow truck for Defendants from May of 2016 until December of
2016. With the caveat that the Defendants many not agree with these allegations,
Burdette was paid on a commission basis and the Defendants did not track his

time. Burdette alleges that he was misclassified as an independent contractor
instead of an employee and, therefore, Defendants failed to pay him minimum



8
  Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1244 (M.D. Fla. 2010)(quoting D.A.
Schulte v. Gangi, 328 U.S. 108, 116, 66 S. Ct. 925, 90 L. Ed. 1114 (1946)).




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wage and overtime as required by the FLSA. As noted above, the Parties
exchanged records from Defendants’ customers and used Burdette’s estimate of the

number of hours he worked. Plaintiff’s counsel prepared an estimate of damages
using Microsoft Excel. Beyond the overtime he was not paid, Burdette’s
calculations show that he was not paid the minimum wage for most weeks.

Burdette’s estimate is that he is owed $6,882.70 for unpaid minimum and overtime
wages that could be doubled as liquidated damages to $13,765.40. The
compromise calls for Mr. Burdette to receive--in gross--$12,388.66. As noted

above, neither Party had complete time records and the amount of time Plaintiff
worked was contested. This agreement calls for the Plaintiff to receive only a small
amount less than his highest estimate of damages—certainly an amount within the

range of the evidence. In compromise, Plaintiff will receive his funds over the
course of thirty months. This payment schedule is reasonable because Defendant
has stated that he has financial issues that require such a schedule.
    As to Attorneys’ fees and costs, the Parties first agreed upon Mr. Burdette’s
portion of the settlement and then negotiated attorneys’ fees. Counsel will receive
attorneys’ fees from the Defendant of $9,853.14. Pursuant to the retainer

agreement9 between counsel and Plaintiffs, counsel will also receive twenty-five




9
  See Moore v. Americus Restaurant Group, Inc., 1:17-cv-107(WLS), Dkt. 21 (M.D. Ga.
October 6, 2017) (The Court discussed the 25% arrangement in approving an attorneys’
fee award noting that the "[F]ee agreement to advance costs provided that Plaintiff may

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percent of the liquidated damages paid to Plaintiffs ($1,548.61) for a total
attorneys’ fee award of $11,399.75 Plaintiff was afforded the option of paying a

cost retainer or paying 25% of liquidated damages in return for counsel’s
agreement to fund costs without recourse. Defendants are not a party to this
contractual arrangement. Plaintiff opted to have counsel advance costs. Plaintiffs’

counsel has accrued approximately $14,330 in fees and costs for the claims they
pursued for Plaintiff at rates that have been previously approved in the Northern
District of Georgia. 10 Plaintiff’s counsel is willing to reduce his fee in this matter

in order to resolve the matter.

           B. Internal Factors

     As noted above, Dees lists a number of internal factors: (1) The existence of
fraud or collusion behind the settlement; (2) the complexity, expense, and likely
duration of the litigation; (3) the stage of the proceedings and the amount of


choose to personally bear the costs of litigation or have the firm hold him harmless in the
event of no recovery for a fee of 25% of liquidated damages. Plaintiff chose the latter.")
10
  See Forester v. Mdpons, et.al., Northern District of Georgia, civil action 1:15-cv-
03378-ELR (Dkt.47, p.11); Obertein, etal. v. Assured & Associates, et.al., Civil Action
No. 1:14-cv-00490-AT, Dkt. 100 (05/04/17); Miller v. Rockdale County, 1:16-cv-04149-
WSD (Dkt. 12, p.4) (“The Court also finds the amount of attorneys’ fees and costs to be
paid by Defendant to Plaintiff’s counsel is reasonable in view of the results obtained and
the customary fee for similar legal services provided in the Atlanta market. . . . . The
Court notes that multiple courts have approved the requested hourly rates of $400 per
hour for attorneys Mitchell D. Benjamin and Charles R. Bridgers, as well as the rates of
$145 per hour for paralegal Jessica Sorrenti and $105 per hour for paralegal Sarah
Toenes, as detailed in the declarations of counsel.”



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discovery completed; (4) the probability of plaintiffs’ success on the merits; (5) the
range of possible recovery amounts; and (6) the opinions of the counsel. 11

         Here, both Parties were represented by experienced counsel in an adversarial
process that demonstrates no evidence of fraud of collusion. As with litigation
where fee shifting is required, both Parties were cognizant that litigation can be

time consuming and very expensive. If settlement was not reached at this time,
numerous depositions would have needed to be taken, dispositive motions would
likely have been filed, and significant delay in resolution of this dispute would

ensue.
         The Parties disagree as to the merits of this case. Plaintiff and counsel
believe that disputed issues of fact likely would permit this case to go to trial and

that Plaintiff’s testimony and other evidence of liability will be credited by a jury.
Defendants disagree and contend that they would prevail at summary judgment or
at trial. Thus, substantial uncertainties and risks existed for all Parties and was a
significant catalyst to serious settlement negotiations.
     Beyond this, the Parties had access to virtually all of the time, pay, and external
records that were ever going to be available while making their estimates of

damages. This resolution is certainly within the range of the evidence. Therefore,


11
  Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1241 (M.D. Fla. 2010); Pessoa v.
Countrywide Home Loans, Inc., 2007 U.S. Dist. LEXIS 24076, 2007 WL 1017577, at 3
(M.D. Fla. Apr. 2, 2007) (quoting Leverso v. South Trust Bank of Ala., Nat. Assoc., 18
F.3d 1527, 1531 n.6 (11th Cir. 1994)).


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any further litigation or discovery would not provide Plaintiff with any certain
additional benefit because the settlement provides for almost all the damages that

Plaintiff could have proven at trial. In sum, the Parties and their counsel prudently
attempted to devote their limited resources towards settlement, rather than
continued litigation.

              C.     External Factors

     As stated above, the Dees Court noted the following external factors:
              Compromise of a retrospective dispute may be permissible if,
              for example, the FLSA issue in a case is unresolvably close on
              the facts or the law or some extraordinary circumstance . . .
              commends a speedy or certain resolution. On the other hand,
              several factors may commend rejecting a proposed
              compromise, including the presence of other employees
              situated similarly to the claimant, a likelihood that the
              claimant's circumstance will recur, a history of FLSA non-
              compliance by the same employer or others in the same
              industry or geographic region, or the requirement for a mature
              record and a pointed determination of the governing factual or
              legal issue to further the development of the law either in
              general or in an industry or in a workplace.12

     Other “external factors” to examine when considering the fairness of a proposed

FLSA settlement, address whether the compromise frustrates the purposes of the


12
  Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1244 (M.D. Fla. 2010)(quoting D.A.
Schulte v. Gangi, 328 U.S. 108, 116, 66 S. Ct. 925, 90 L. Ed. 1114 (1946)).




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FLSA. Dees, 706 F. Supp. 2d at 1244. Here, the purpose of the FLSA is not
frustrated in that Mr. Burdette is receiving almost full value for this claims after a

detailed review of those claims. Given this fact, a detailed analysis of the external
factors is not overly necessary.
4.      CONCLUSION
     For the foregoing reasons, the Parties respectfully request that the Court
approve the compromise entered into between the Parties. The Parties also request
that the Court dismiss this action with prejudice, but retain jurisdiction to enforce
the Parties Settlement Agreement, if necessary. A proposed order is attached hereto

for the Court’s consideration.




        Respectfully submitted.

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